             Case 2:16-cr-00199-JAM Document 67 Filed 09/20/18 Page 1 of 3


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 6
                          IN THE UNITED STATES DISTRICT COURT
 7
                        FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA                      Case No.: 16-CR-0199 GEB
10
11
           vs.                                     STIPULATION AND PROPOSED
12                                                 ORDER CONTINUING THE STATUS
13                                                 CONFERNCE SET FOR SEPTEMBER
     KIONI M. DOGAN, et al.                        21, 2018 TO NOVEMBER 16, 2018
14
15
16
17
18         IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan,

19   Gloria Harris, and Lavonda Bailey, by and through their undersigned defense counsel,
20
     and the United States of America, by and through its counsel, Christopher Hales,
21
22   Assistant United States Attorney, that the status conference currently set for September

23   21, 2018 should be continued until November 16, and to exclude time between
24
     September 21, 2018 and November 16, 2018, under Local Code T4.
25
26         The parties agree and stipulate, and request that the Court find the following:
27
                 1. The government has provided discovery associated with this case, which is
28
                                            -1-
                    voluminous - i.e. approximately 14,000 pages, plus media materials, to
     Case 2:16-cr-00199-JAM Document 67 Filed 09/20/18 Page 2 of 3


 1       defense counsel. Both counsel for Dogan and Harris were substituted in for
 2
         original counsel and have not been counsel of record the entire time since
 3
         the indictment and thus have had more limited time to prepare.
 4
 5    2. Given the volume of discovery, defense counsel for defendants require
 6
         additional time to review the discovery in this matter, to consult with their
 7
 8       respective clients and to conduct any necessary investigation and research

 9       related to the charges, to evaluate possible settlement, and to otherwise
10
         prepare for trial.
11
12    3. Counsel for defendants believes that failure to grant the above-requested
13
         continuance would deny counsel the reasonable time necessary for effective
14
         preparation, taking into account the exercise of due diligence.
15
16
      4. The government is unopposed to the requested continuance.
17
18    5. Based on the above-stated findings, the ends of justice served by continuing
19       the case as requested outweigh the interest of the public and the defendant
20
         in a trial within the original date prescribed by the Speedy Trial Act.
21
22    6. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C.
23
         3161, et seq., within which trial must commence, the time period of
24
         September 21, 2018, to November 16, 2018, inclusive, is deemed
25
26       excludable pursuant to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code
27
         T4] because it results from a continuance granted by the Court at counsel’s
28
         request on the basis of the- Court’s
                                      2-      finding that the ends of justice served by
             Case 2:16-cr-00199-JAM Document 67 Filed 09/20/18 Page 3 of 3


 1               taking such action outweigh the interest of the public and the defendant in a
 2
                 speedy trial.
 3
 4            7. Nothing in this stipulation and order shall preclude a finding that other
 5               provisions of the Speedy Trial Act dictate that additional time periods are
 6
                 excludable from the period within which a trial must commence.
 7
 8         IT IS SO STIPULATED.              Respectfully submitted,

 9
10   Dated: September 19, 2018               /s/ Steven B. Plesser
                                             STEVEN B. PLESSER
11                                           Attorney for Gloria Harris
12
     Dated: September 19, 2018               /s/ Steven B. Plesser for:
13                                           For CHRISTOPHER HALES
14                                           Assistant U.S. Attorney
                                             Attorney for the United States
15
16   Dated: September 19, 2018               /s/ Steven B. Plesser
                                             For Hayes Gable III
17                                           Attorney for Kioni Dogan
18
     Dated: September 19, 2018               /s/ Steven B. Plesser
19                                           For ROBERT WILSON
                                             Attorney for Lavonda Bailey
20
21
22                               FINDINGS And ORDER
23
24         IT IS SO FOUND AND ORDERED.
25         Dated: September 19, 2018
26
27
28
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